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GCIU-Employer Retirement                EXHIBIT 1 to COMPLAINT - 6
Fund, et al. v. The Marek Group, Inc.      2:20-cv-02074
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    GCIU-EMPLOYER
   RETIREMENT FUND

                      Trust Agreement
                             Effective January 1, 1976
              As Revised and Restated December 1, 2012



    GCIU-Employer Retirement              EXHIBIT 1 to COMPLAINT - 7
    Fund, et al. v. The Marek Group, Inc.    2:20-cv-02074
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    GCIU-Employer Retirement              EXHIBIT 1 to COMPLAINT - 8
    Fund, et al. v. The Marek Group, Inc.    2:20-cv-02074
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                                           PREAMBLE

           WHEREAS, the signatory parties (or their predecessors in interest) did previously
      execute a “Retirement Benefit Plan”, with an effective date of October 1, 1955, which
      document created and governed a joint labor-management employee pension benefit fund
      presently known as the
                                        GCIU — Employer
                                         Retirement Fund
                                               and
           WHEREAS, said document did also create an employee pension benefit plan present-
      ly known as the
                                       GCIU — Employer
                                     Retirement Benefit Plan
                                              and
          WHEREAS, said document was subsequently amended in several respects, and
           WHEREAS, said document was adopted in accordance with the applicable provi-
      sions of Section 302(c) of the Labor Management Relations Act of 1947 and applicable
      provisions of the Internal Revenue Code, and
           WHEREAS, the enactment of the Employee Retirement Income Security Act of 1974
      mandated the adoption of certain substantive changes in the documents governing employ-
      ee pension benefit funds and thus required amendment of the existing document, and
           WHEREAS, the Trustees have again determined to revise and restate the existing
      Trust Agreement so as to further take into account contemporary needs and conditions,
      including amendments which have been made since the September 1, 1999 revision,
           NOW THEREFORE, the Trustees and remaining signatory parties do hereby revise
      and restate the “Trust Agreement”, as follows:




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                                       ARTICLE I
                                 DECLARATION OF TRUST

     1.   Name
          The Trustees and the remaining signatory parties hereby reaffirm the declaration and
     establishment of a Trust Fund known as the
                                       GCIU — Employer
                                        Retirement Fund
          The Trustees may hold property, enter into contracts, and in all matters act on behalf
     of the Trust Fund in such name. The Trust Fund may sue or be sued in such name.
     2.   Purpose
          The purpose of the Trust Fund is to provide an entity to which contributions from par-
     ticipating employers can be paid and through which the Trustees can administer the
     GCIU—Employer Retirement Benefit Plan for the benefit of the participating employees
     for whom such contributions have been paid, and their beneficiaries.
     3.   Nature of Trust Fund
           The Trust Fund is a “trust” as contemplated by Section 302(c)(5) of the Labor
     Management Relations Act of 1947; a “trust” as contemplated by Section 401(a) of the
     Internal Revenue Code; and a “trust” as contemplated by Section 403(a) of the Employee
     Retirement Income Security Act of 1974. It is an entity separate and apart from the par-
     ticipating employers, employer associations, and labor organizations.
     4.   Duration of Trust Fund
          The Trust Fund shall continue in existence on an indefinite basis, contemporaneous-
     ly with the term of this Trust Agreement.
     5.   Term of Trust Agreement
          This revised and restated Trust Agreement shall be effective as of December 1, 2012,
     and shall continue indefinitely until such time as it may be terminated in accordance with
     the provisions of Article XIV hereof.




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                                             ARTICLE II
                                            DEFINITIONS
           The following definitions shall govern in this Trust Agreement:
           1. “Beneficiary”—any person designated by a participating employee, under the terms
      of the Retirement Benefit Plan, to receive benefits, if any, upon the death of such participat-
      ing employee.
            2. “Collective bargaining agreement”—a written agreement between a participating
      employer and a participating labor organization, providing generally for wages, hours, and
      working conditions, by the terms of which the employer is obligated to make contributions
      to the Trust Fund on behalf of the bargaining unit employees covered by such an agreement.
            3. “Contributions”—the payments which a participating employer is obligated to
      make to the Trust Fund pursuant to the terms of a collective bargaining agreement, subscrip-
      tion agreement, or participation agreement.
           4. “Participating employee”—an individual employed by a participating employer and
      for whom that employer makes contributions to the Trust Fund, as allowed by the provisions
      of Article V, Sections 1, 2, 3, 4, and 5 and any individual who formerly was so employed and
      who has achieved vested or retired status under the terms of the Retirement Benefit Plan.
            5. “Participating employer”—any employing entity that is party to a collective
      bargaining agreement or subscription agreement with a participating labor organization, as
      allowed by the provisions of Article V, Section 1 hereof. An employing entity may be a sole
      proprietorship, partnership, unincorporated association, corporation, or joint venture; or the
      United States of America; or any state, county or municipality; or other public agency, pub-
      lic corporation, or governmental unit.
           A participating labor organization, or the Trust Fund, or any related trust fund, shall also
      be considered as a “participating employer” for the limited purpose of allowing the employ-
      ees of such entities to participate in the Trust Fund, as permitted by Article V, Sections 2 and
      5 hereof.
           6. “Participating employer association”—any employer association or multi-employer
      bargaining group that is party to a collective bargaining agreement with a participating labor
      organization, as allowed by the provisions of Article V, Section 1 hereof.
           7. “Participating labor organization”—Graphic Communications Conference of the
      International Brotherhood of Teamsters, and any local union, district council, joint district
      council, conference, or other bargaining agency affiliated with or represented by the
      Conference, that has entered into a collective bargaining agreement or subscription agree-
      ment with a participating employer or employer association, as allowed by the provisions of
      Article V, Section 1 hereof.
            8. “Participation agreement”—a written agreement, in a form approved by the
      Trustees, by the terms of which a participating employer is obligated to make contributions
      to the Trust Fund on behalf of the non-bargaining unit employees covered by such an agree-
      ment.
          9. “Pension benefits” or “employee pension benefits”—the pension and related
      benefits provided in the Retirement Benefit Plan.

                                                 —3—

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          10.“Related trust fund”—an employee benefit trust fund, other than this Trust Fund,
     to which participating employers make contributions as required by collective bargaining
     agreements with participating labor organizations.
          11. “Retirement Benefit Plan”—The GCIU—Employer Retirement Benefit Plan as
     constituted on the effective date of this Trust Agreement and as hereafter amended.
         12. “Signatory parties”—the parties who have created this Trust Agreement and
     whose identities and signatures appear on the last page hereof and their successors. (See
     Note on page 40)
          13. “Subscription agreement”—a written agreement, in a form approved by the
     Trustees, by the terms of which a participating employer and participating labor organiza-
     tion subscribe to the terms and provisions of this Trust Agreement, and by the terms of
     which an employer is obligated to make contributions to the Trust Fund on behalf of the
     bargaining unit employees covered by such an agreement.
          14. “Trustees” or “Board of Trustees”—the Trustees of the Trust Fund and their suc-
     cessors.
         15. “Trust” or “Trust Fund”—the entity created by this Trust Agreement and all
     property and money held by such entity, including all contract rights and records.




                                             —4—

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                                          ARTICLE III
                                        THE TRUSTEES

      1.   The Board of Trustees
           The Trust Fund and the Retirement Benefit Plan shall be controlled and administered
      by a Board of Trustees composed of Employer Trustees and Labor Organization Trustees.
      2.   Statutory Capacities of Trustees
           For purposes of complying with Section 302(c)(5)(B) of the Labor Management
      Relations Act of 1947, the participating employers shall be represented, in the administra-
      tion of the Trust Fund, by the Employer Trustees; and the participating employees shall be
      represented by the Labor Organization Trustees.
           For purposes of complying with the various provisions of the Employee Retirement
      Income Security Act of 1974 the Trustees shall be considered as “named fiduciaries”,
      “fiduciaries”, the “plan administrator”, and the “plan sponsor”, as those terms are used in
      the Act.
      3.   Agents for Service of Process
            The Trustees shall also be considered as agents of the Trust Fund for the purpose of
      accepting service of legal process, provided that the Trustees may designate their admin-
      istrative manager, or another person, as agent of the Trust Fund for this purpose.
      4.   Number of Trustees
           There may be up to eighteen (18) Trustees, nine (9) of whom shall be Employer
      Trustees and nine (9) of whom shall be Labor Organization Trustees.
      5.   Alternate Trustees
           There may also be up to ten (10) alternate Trustees, five (5) of whom shall be alter-
      nate Employer Trustees and five (5) of whom shall be alternate Labor Organization
      Trustees.
           In the event any Employer Trustee is absent from any meeting of the Trustees he may
      designate an alternate Employer Trustee to serve in his place and stead. If the absent
      Employer Trustee fails to make such a designation, the Employer Trustees who are pre-
      sent at the meeting may designate an alternate Employer Trustee to serve in the place and
      stead of the absent Trustee.
           In the event any Labor Organization Trustee is absent from any meeting he may
      designate an alternate Labor Organization Trustee to serve in his place and stead. If the
      absent Labor Organization Trustee fails to make such a designation, the Labor
      Organization Trustees who are present at the meeting may designate an alternate Labor
      Organization Trustee to serve in the place and stead of the absent Trustee.
           The alternate Trustees, if any, shall be appointed in the same manner and retain such
      appointment under the same conditions as the regular Trustees. When designated to serve
      for a regular Trustee, and while serving, an alternate Trustee shall have all of the powers
      and responsibilities of a regular Trustee.


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     6.   Identity of Present Trustees
         The regular and alternate Trustees serving as of the revised date of this Trust
     Agreement are:

          Employer Trustees                   Labor Organization Trustees
          Hugh Gaylord                        Edward A. Treacy
          Jim Janiga                          Stephen E. Northup
          Joseph Conley                       John D. Bachler
          Thomas E. Phillips                  George Tedeschi
          Tom Sarnecki
                                              Alternate Labor Organization Trustees
                                              Ralph Meers

     7.   Appointment of Successor Employer Trustees
          In the event of the termination of appointment, resignation, or death of an Employer
     Trustee, a successor Employer Trustee shall be appointed by unanimous action of the
     remaining Employer Trustees.
     8.   Appointment of Successor Labor Organization Trustees
           In the event of the termination of appointment, resignation, or death of a Labor
     Organization Trustee, a successor Labor Organization Trustee shall be appointed by unan-
     imous action of all of the signatory labor organizations. If any signatory labor organiza-
     tion fails, within sixty (60) days, to respond to a suggested appointment made by the other
     signatory labor organizations, that signatory labor organization will be deemed to have
     waived its rights to participate in or to contest the appointment.
     9.   Individuals Disqualified from Service as Trustees
          No individual who has been convicted of any of the crimes listed in Section 411(a)
     of the Employee Retirement Income Security Act of 1974 shall serve as a Trustee during
     the period of disqualification specified in the statute.
     10. Acceptance of Appointment by Trustees
          Each Trustee shall sign a document accepting his appointment as Trustee and agree-
     ing to abide by the terms and provisions of this Trust Agreement.
     11. Term of Appointment
          Each Trustee shall serve until termination of appointment, resignation, or death.
     12. Termination of Appointment by Appointing Entity
         The appointment of an Employer Trustee may be terminated, at any time, by unani-
     mous action of the remaining Employer Trustees.
         The appointment of a Labor Organization Trustee may be terminated, at any time, by
     unanimous action of all of the signatory labor organizations.
          The termination of a Trustee’s appointment shall be effective upon the termination
     date specified in a written notice of termination, executed by the group of appropriate
     Employer Trustees or signatory labor organizations. Any such notice shall be addressed to


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      the Trustees and shall be mailed to the Trust Fund’s administrative office.
      13. Termination of Appointment for Failure to Attend Meetings
            The appointment of a Trustee shall be automatically terminated if such Trustee fails
      to attend three (3) consecutive meetings of the Trustees, without being excused from atten-
      dance by specific action of the remaining Trustees noted in the minutes. Alternate Trustees
      are exempt from this requirement.
      14. Termination of Appointment for Conviction of a Crime
           The appointment of a Trustee shall be automatically terminated if such Trustee is con-
      victed of any of the crimes listed in Section 411(a) of the Employee Retirement Income
      Security Act of 1974. If a Trustee who is so disqualified should continue to serve as a
      Trustee, in circumstances where the remaining Trustees have no knowledge of his dis-
      qualification, such service shall not invalidate any of the actions or decisions of the
      Trustees during the period of such service.
      15. Termination of Appointment for Mental Incapacity
           The appointment of a Trustee shall be automatically terminated if such Trustee is
      declared mentally incompetent by court decree.
      16. Resignation of Appointment
           A Trustee may resign his appointment at any time. Such resignation shall be effective
      upon the resignation date specified in a written notice of resignation. Any such notice shall
      be addressed to the Trustees and shall be mailed to the Trust Fund’s administrative office.
      17. Vacancies
           No vacancy in the position of Trustee shall impair the power of the remaining
      Trustees to administer the affairs of the Trust Fund so long as a quorum exists as specified
      in Article IV, Section 2 hereof.
      18. Return of Books and Records
            In the event of the termination of appointment, resignation, or death of a Trustee, the
      Trustee (or his legal guardian, heirs, or personal representative) shall, upon the request of
      the Chairman or the Secretary or of the administrative manager, forthwith turn over to the
      administrative manager, any and all records, books, documents, monies, and other prop-
      erty in the possession of the Trustee, or under his control, that belong to the Trust Fund or
      that were received by him in his capacity as Trustee.




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                                     ARTICLE IV
                             TRUST FUND ADMINISTRATION
     1.   Manner of Voting
          Any action to be taken by the Trustees shall require a favorable vote by the Employer
     Trustees and by the Labor Organization Trustees, according to the unit method of voting.
     The Employer Trustees shall have but one vote among them (which shall be determined
     by a majority of the Employer Trustees present) and the Labor Organization Trustees shall
     have but one vote among them (which shall be determined by a majority of the Labor
     Organization Trustees present).
          Any Trustee including the Chairman or Secretary may offer or second any motion or
     resolution for the Trustees’ consideration. Any individual Trustee shall be entitled, upon
     request, to have his vote recorded in the official minutes.
     2.   Constitution of a Quorum
          To constitute a quorum at any meeting of the Trustees there must be present at least
     three (3) Employer Trustees, or duly designated alternates, and three (3) Labor
     Organization Trustees, or duly designated alternates.
     3.   Proxies Prohibited
          To encourage full attendance at meetings of the Trustees and due consideration of the
     matters being voted upon, there shall be no proxies. A Trustee must be present in order to
     cast a vote.
     4.   Regular Meetings
          The Trustees shall hold regular periodic meetings consistent with the needs of Trust
     Fund business, provided that there shall be at least two (2) regular meetings held during
     each calendar year. The Trustees shall determine the time and place of all such meetings.
     5.   Special Meetings
          Either the Chairman or the Secretary or any two (2) Trustees (one Employer and one
     Labor Organization Trustee) may call a special meeting of the Trustees by giving written
     notice to all the other Trustees of the time and place of such meeting, at least thirty (30)
     days before the date set for the meeting, provided that thirty (30) days advance notice shall
     not be necessary if all Trustees are agreeable to an earlier meeting.
     6.   Action without a Formal Meeting
          The Trustees may take action without a formal meeting by means of the presentation
     of a written motion or resolution sent to all Trustees by the administrative manager and the
     subsequent obtaining of Trustee votes on the motion or resolution in letters, by email, or
     by facsimile transmission sent by each Trustee to the administrative manager. Any such
     action shall be reported in the minutes of the next formal meeting.
     7.   Failure of the Trustees to Agree—Arbitration
          In the event the Employer Trustees and Labor Organization Trustees should deadlock
     on any matter submitted for their consideration, the dispute may be referred by either
     group of Trustees to an impartial arbitrator in accordance with the labor arbitration rules
     of the American Arbitration Association. A deadlock shall be deemed to occur when there

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      is a tie vote on any motion before the Trustees.
            The Trustees shall attempt to agree on the joint submission of a statement of the issue
      in dispute. However, if the Trustees cannot jointly agree upon such a statement, each group
      of Trustees shall submit to the arbitrator, in writing, its version of the issue in dispute. As
      part of his award, the arbitrator shall state his determination as to the exact issue.
           The decision and award of the arbitrator shall be final and binding upon the
      Trustees and upon all parties whose interests are affected thereby.
            The expenses of any such arbitration, including any court proceedings relating there-
      to, and the fee of the arbitrator and the reasonable attorney’s and witness fees of the par-
      ties, shall be chargeable to the Trust Fund.
            The procedure specified in this Section shall be the sole and exclusive procedure
      for the resolution of deadlocked issues.
      8.   Election of Officers
            The Trustees shall elect a Chairman, Vice-Chairman, Secretary and Assistant
      Secretary. Two of these officers shall be Employer Trustees and two shall be Labor
      Organization Trustees. When the Chairman is an Employer Trustee, the Vice-Chairman
      shall also be an Employer Trustee; when the Secretary is a Labor Organization Trustee, the
      Assistant Secretary shall also be a Labor Organization Trustee, or vice-versa.
           The officers shall hold office indefinitely, provided that at the first regular meeting in
      each odd numbered year, either the Employer Trustees or the Labor Organization Trustees
      may obtain, on their request, a rotation of all offices and a new election of all officers.
            An officer may resign his office at any time. Such resignation shall be effective upon
      the resignation date specified in a written notice of resignation. Any such notice shall be
      addressed to the Trustees and shall be mailed, emailed or faxed to the Trust Fund’s admin-
      istrative office. In case of the resignation, death, or termination of appointment of either
      the Chairman or the Secretary, there shall be a new election of all offices. In case of the
      resignation, death, or termination of appointment of either the Vice-Chairman or the
      Assistant Secretary, there shall be a new election of that office only.
      9.   Duties of Officers
           The Chairman shall chair the meetings of the Trustees, shall appoint all committees
      and shall carry out such other duties as the Trustees may assign to him. The Vice-
      Chairman, in the absence of the Chairman, shall act in place of the Chairman and perform
      the Chairman’s duties.
           The Secretary shall advise the Trustees as to all correspondence and financial reports
      pertaining to the Trust Fund and shall keep minutes or records of all meetings, proceed-
      ings, and actions of the Trustees, provided that these particular responsibilities may be del-
      egated to the administrative manager or to other professional persons retained by the
      Trustees. The Assistant Secretary, in the absence of the Secretary, shall act in place of the
      Secretary and perform the Secretary’s duties.
      10. Authorized Signatures
           The Chairman or the Vice-Chairman, and the Secretary or the Assistant Secretary,
      shall sign all negotiable instruments, certificates, contracts, government reports, and other


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     legal documents on behalf of the Trust Fund, provided that the authority for signing nego-
     tiable instruments may be delegated to the administrative manager, corporate trustee (if
     any), depository bank, or custodian bank. All persons doing business with the Trust Fund
     may rely on such signatures.
           If the Trust Fund issues benefit checks to participating employees or their beneficia-
     ries, the signatures of the Chairman and Secretary may be affixed thereto by a facsimile
     signature device, under safeguards determined by the Trustees.
     11. Compensation and Expenses
          No Trustee shall receive any compensation from the Trust Fund for services as a
     Trustee.
           Each Trustee (and each alternate Trustee who is called upon to substitute for an
     absent Trustee) shall be reimbursed out of the Trust Fund for all expenses properly and
     actually incurred by him in the administration of the Trust Fund. The Trustees shall estab-
     lish the conditions for the reimbursement of expenses.
     12. Benefits to Trustees Not Prohibited
          Nothing in this Trust Agreement shall prohibit a Trustee from receiving any benefits
     under the terms of the Retirement Benefit Plan, if he is otherwise eligible for the same as
     a participating employee or as a beneficiary of a participating employee.




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                                            ARTICLE V
                                          PARTICIPATION
      1.   Bargaining Unit Employees Entitled to Participate
           Employees in bargaining units covered by collective bargaining agreements between
      employers and employer associations in the printing and paper products industry and the
      Graphic Communications Conference of the International Brotherhood of Teamsters, or
      any local union, district council, joint district council, conference or other bargaining
      agency affiliated with, merged with, or represented by the Conference, shall be entitled to
      participate in this Trust Fund.
            The Trustees, however, shall have the authority to decline or terminate the participa-
      tion of a particular bargaining unit if (a) the bargaining parties fail to provide the Trustees
      with a copy of their collective bargaining agreement or if the language of the contribution
      provision in such agreement does not meet the requirements of the Trustees, provided that
      the Trustees, in their discretion, may accept a subscription agreement in lieu of, or to sup-
      plement, a collective bargaining agreement; (b) the negotiated contribution rate is lesser,
      or greater, than the contribution rate or rates allowable under the terms of the Retirement
      Benefit Plan, provided that the Trustees, in their discretion, may accept the different rate
      and establish different eligibility rules or benefit formulas for the bargaining unit employ-
      ees affected; (c) to allow participation as requested would violate any established rule, pol-
      icy, or procedure governing participation in the Trust Fund; or (d) there exist other facts
      and circumstances which, in the Trustees’ discretion, justify a declination or termination
      of participation.
      2.   Labor Organization Employees
           Employees of a participating labor organization may participate in the Trust Fund,
      provided that the labor organization executes a participation agreement by the terms of
      which it agrees to make contributions to the Trust Fund on behalf of such employees.
           The rate at which the labor organization makes contributions to the Trust Fund shall
      not exceed the highest negotiated rate in the geographical area encompassed by that labor
      organization.
      3.   Non-Bargaining Unit Employees of Participating Employers
           Non-bargaining unit employees of a participating employer may participate in the
      Trust Fund, provided that the employer executes a participation agreement by the terms of
      which it agrees to make contributions to the Trust Fund on behalf of such employees. The
      contribution rate for nonbargaining unit employees shall be a monthly rate equivalent to
      that which the participating employer is required to pay for its bargaining unit employees.
      Contributions must be paid on all employees falling within an appropriate group as fol-
      lows:
           Group A—Office clerical employees. All office clerical employees at a particular
      establishment must be considered as a group and the employer must make contributions
      for all office clerical employees within such group.
           Group B—Managerial employees/business agents/officers. All managerial employ-
      ees, business agents and officers at a particular establishment must be considered as a

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     group and the employer must make contributions for all employees within such group.
     Further, no contributions shall be accepted for a managerial employee, business agent or
     officer group unless the employer also contributes for the remaining employees at that
     establishment.
          Group C—Foremen and superintendents of printing department. All non-contract
     foremen and superintendents of the printing department at a particular establishment must
     be considered as a group and the employer must make contributions for all foremen and
     superintendents in such group.
         Group D—Other non-bargaining groups. The Trustees may recognize and allow other
     groups of non-bargaining unit employees to participate, as they may determine.
     4.   Transferred Employees
          Individual participating employees who may be transferred from a bargaining unit
     position to a non-bargaining unit position at a particular establishment may continue to
     participate in the Trust Fund, provided that the participating employer makes contributions
     for all such employees. The contribution rate for transferred employees shall be a month-
     ly rate equivalent to that which the participating employer is required to pay for its bar-
     gaining unit employees.
     5.   Trust Fund Employees
          Employees of the Trust Fund (if any), or of a related trust fund may participate in the
     Trust Fund, provided that the Trustees authorize such participation. The cost of such par-
     ticipation shall be chargeable to the Trust Fund or to the related trust fund.
     6.   Unauthorized Participation
          The only individuals who are eligible to participate in and receive benefits from the
     Trust Fund shall be those employees in the bargaining units and other groups described in
     Sections 1, 2, 3, 4, and 5 above. It is expected that participating employers will submit
     contributions only on behalf of such employees. The receipt by the Trust Fund of contri-
     butions which may be submitted on behalf of individuals who are not eligible to partici-
     pate shall not stop the Trustees from declining or terminating the participation of such
     individuals nor shall it constitute a waiver of any of the provisions of this Article or of the
     Retirement Benefit Plan.
     7.   Sole Proprietors and Partners Ineligible
          Sole proprietors and partners are not to be considered as participating employees and
     shall not be eligible to participate in and receive benefits from the Trust Fund.
     8.   Participation of Non-Bargaining Unit Employees
          It is intended that the participation of groups described in Sections 2, 3, 4 and 5 above
     (and the resulting coverage under and benefits from this Retirement Benefit Plan) will be
     in accordance with the non-discrimination laws contained in the Tax Reform Act of 1986
     and the Technical and Miscellaneous Revenue Act of 1988 and any amendments or regu-
     lations issued subsequent thereto, to the extent such laws and regulations are applicable to
     this Trust Fund and the Retirement Benefit Plan. Any omissions or oversights will be
     resolved in accordance with the applicable laws and regulations.



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                                       ARTICLE VI
                                TRUSTEE RESPONSIBILITIES
      1.   General Duty—Receipt of Contributions and
           Administration of Retirement Benefit Plan
           It shall be the general duty of the Trustees to receive the employer contributions and
      any other income or assets which they may obtain and, with such, to administer the
      Retirement Benefit Plan.
           Additionally, the Trustees shall have the specific duties set forth in this Article and
      such other duties as are imposed upon them by Section 302(c) of the Labor Management
      Relations Act of 1947, the Employee Retirement Income Security Act of 1974, and other
      applicable laws.
      2.   Compliance with the Internal Revenue Code
           The Trustees shall administer the Trust Fund and the Retirement Benefit Plan so that,
      to the extent allowed in the Internal Revenue Code, employer contributions are tax
      deductible and the Trust Fund is tax-exempt.
      3.   Funding Standards
            The Trustees, with the assistance of their enrolled actuary, shall establish and main-
      tain a funding standard account, as required by Section 304(b)(l) of the Employee
      Retirement Income Security Act of 1974, for the purpose of determining that the
      Retirement Benefit Plan remains actuarially sound according to the funding standards
      imposed by such Act. The funding standard account shall be reviewed by the Trustees at
      least once each year and on occasions when the Trustees are considering amendments to
      the Retirement Benefit Plan which involve an actuarial cost.
           The Trustees shall administer the Trust Fund and the Retirement Benefit Plan so that,
      to the extent such is reasonably within their control, the Plan does not accrue an uncorrect-
      ed “accumulated funding deficiency”, as defined in Section 304(a) of the Employee
      Retirement Income Security Act of 1974. If it should be determined that an “accumulated
      funding deficiency” has accrued or will accrue, such deficiency may be corrected by the
      participating employers and labor organizations, through an adjustment in the amount of
      contributions, or by the Trustees, through an amendment of the Retirement Benefit Plan
      adjusting the level of benefits.
           The foregoing provision shall not be interpreted as a guarantee that the Retirement
      Benefit Plan will never accrue an uncorrected “accumulated funding deficiency” or as an
      indemnification on the part of the Trustees as to any liability which may be imposed upon
      a participating employer with respect to such deficiency under the applicable provisions
      of such Act or the Internal Revenue Code.
      4.   Basis of Payments to and from Trust Fund
           The basis on which the employer contributions are made to the Trust Fund shall be
      as specified in the underlying collective bargaining agreement, subscription agreement or
      participation agreement. The basis on which benefits are paid out of the Trust Fund shall
      be as specified in the Retirement Benefit Plan.


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     5.   Application of Trust Fund Assets
          As required by Section 403(c)(l) of the Employee Retirement Income Security Act of
     1974, the assets of the Trust Fund shall never inure to the benefit of any participating
     employer and shall be held for the exclusive purposes of providing benefits to participat-
     ing employees and their beneficiaries and defraying reasonable administrative expenses.
     6.   Fiduciary Standards
          As required by Section 404(a)(l)(A) and (B) of the Employee Retirement Income
     Security Act of 1974, the Trustees shall discharge their duties and administer the Trust
     Fund assets solely in the interest of the participating employees and their beneficiaries and
     for the exclusive purpose of (a) providing benefits to participating employees and their
     beneficiaries and (b) defraying reasonable expenses of benefit plan administration.
          In carrying out their duties the Trustees shall act with the care, skill, prudence, and
     diligence under the circumstances then prevailing that a prudent man acting in a like
     capacity and familiar with such matters would use in the conduct of an enterprise of a like
     character and with like aims.
     7.   Deposits
           The Trustees shall deposit the contributions or any other monies which they may
     receive, in one or more banks or similar financial institutions supervised by the United
     States or a state, pending the allocation of such monies for the payment of current bene-
     fits and expenses, or for investment.
     8.   Investments
          The Trustees shall invest all contributions or other monies not required for the pay-
     ment of current benefits and expenses. The Trustees may invest and reinvest in bank
     accounts, savings and loan accounts, securities, mortgages, deeds of trust, notes, commer-
     cial paper, real estate, insurance contracts, and in such other property, real, personal, or
     mixed, as they deem prudent provided that in the making of investments the Trustees shall
     diversify such investments as required by Section 404(a)(l)(C) of the Employee
     Retirement Income Security Act of 1974 so as to minimize the risk of large losses, unless
     under the circumstances it is clearly prudent not to do so. Further, no investment shall be
     made which would constitute a “prohibited transaction” within the meaning of Section 406
     of such Act, provided that the Trustees shall have the authority to apply to the Secretary
     of Labor for a conditional or unconditional exemption from any of the “prohibited trans-
     action” rules, as they may deem necessary.
     9.   Specifically Permitted Investments
          In the event the Trustees designate one or more banks or similar financial institutions
     supervised by the United States or a state to serve as custodian of the trust assets, or as a
     corporate co-trustee, or in another fiduciary capacity, the monies belonging to the Trust
     Fund may be invested in the accounts of such bank or institution, provided that such
     accounts bear a reasonable interest rate.
           Further, to the extent allowed by law, the monies of the Trust Fund may be invested
     in (a) a common or collective trust fund or pooled investment fund maintained by a bank
     or trust company supervised by the United States or a state or (b) in a pooled investment
     fund of an insurance company, or (c) in a group trust sponsored by a qualified investment

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      manager as that term is defined in Section 3(38) of the Employee Retirement Income
      Security Act of 1974, even though such bank, trust company, insurance company, or
      investment manager is a party-in-interest as that term is designated in Section 3(14) of the
      Employee Retirement Income Security Act of 1974, provided that the bank, trust compa-
      ny, insurance company, or investment manager receives not more than reasonable com-
      pensation for managing such an investment.
            Finally, to the extent permitted by law, the monies of the Trust Fund may also be
      invested in certain alternative investments, including, but not limited to, REITS, private
      equity funds, infrastructure funds, and instruments comprising risk parity and real return
      strategies, subject to the investment criteria set out in Section 8 above.
      10. Title to Investments and Other Assets
           Title and voting rights to all investments or other assets of the Trust Fund shall be
      maintained in the name of the Trust Fund provided that for convenience in transferring
      securities, title and voting rights to such securities may be held in the name of the Trust
      Fund’s custodian bank, or of its nominee.
           Except as may be authorized by regulation of the Secretary of Labor the indicia of
      ownership of all investments and other assets of the Trust Fund shall not be maintained
      outside the jurisdiction of the district courts of the United States.
      11. Fidelity Bond
           The Trustees shall procure a fidelity bond in the amount required by Section 412 of
      the Employee Retirement Income Security Act of 1974 covering the Trustees, the
      administrative manager, and all other persons who receive, handle, disburse, or otherwise
      exercise custody or control of any of the funds or other property of the Trust Fund. The
      cost of such bond shall be chargeable to the Trust Fund.
      12. Records
           The Trustees shall maintain records of their administration of the Trust Fund and the
      Retirement Benefit Plan, including records of all receipts and disbursements, all invest-
      ments purchased or sold, all participating employee listings, all minutes of Trustee meet-
      ings, and all correspondence. No such record shall be destroyed except upon the specific
      action of the Trustees and destruction shall not be directed until a period of eight (8) years
      has elapsed from the date the record was created, unless some additional period is required
      by law.
      13. Annual Audit
            The Trustees shall engage, on behalf of the participating employees and their benefi-
      ciaries, an independent qualified public accountant as that term is defined in Section
      103(a)(3)(D) of the Employee Retirement Income Security Act of 1974 and shall autho-
      rize such accountant to conduct an annual financial examination of the Trust Fund, as
      required by Section 103(a)(3)(A) of such Act, and such other examinations as the Trustees
      may deem necessary. The cost of such examinations shall be chargeable to the Trust Fund.
           A statement of the results of each annual examination shall be submitted to the
      Trustees for their review and, further, shall be made part of the Trust Fund’s annual report.




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     14. Annual Actuarial Statement
          The Trustees shall engage, on behalf of the participating employees and their
     beneficiaries, an enrolled actuary, as that term is defined in Section 103(a)(4)(C) of the
     Employee Retirement Income Security Act of 1974, and shall authorize such actuary to
     prepare an annual actuarial statement as to the Retirement Benefit Plan, as required by
     Section 103(d) of such Act. The cost of such statement shall be chargeable to the Trust
     Fund.
          The annual actuarial statement shall be submitted to the Trustees for their review and,
     further, shall be made part of the Trust Fund’s annual report.
          The enrolled actuary shall also be authorized to conduct an annual actuarial valuation
     as required under Section 304(c)(7) of such Act.
     15. Summary Plan Description
           The Trustees shall furnish to the Department of Labor, upon request, any documents
     related to the employee benefit plan, including but not limited to the latest summary plan
     description, and any modifications or changes in the information contained in such
     description, as required by Section 104(a)(6) of the Employee Retirement Income Security
     Act of 1974.
          The Trustees shall also furnish to participating employees and to each beneficiary receiv-
     ing benefits copies of the summary plan description and copies of any modifications or
     changes in the information in such description, as required by Section 104(b)(l) of such Act.
     16. Annual Report
          The Trustees shall prepare and file with the Department of Labor an annual report as
     required by Sections 104 and 4065 of the Employee Retirement Income Security Act of
     1974 as amended. The Trustees shall also furnish a report to participating employers and
     the participating labor organizations within 30 days after the due date for filing of the
     annual report that contains the summary plan information set forth under Section 104 (d)
     of such Act. In no case shall a participating employer or participating labor organiza-
     tion be entitled to receive more than one copy of any such document described in Section
     104(d) of the Act during any one 12-month period. The Trustees may impose a reasonable
     charge to cover copying, mailing, and other costs of furnishing copies of the required
     information.
     17. Statements of Accrued Pension Benefits
           As required by Section 105(a)(1)(B) of the Employee Retirement Income Security Act
     of 1974, the Trustees shall furnish a pension benefit statement at least every 3 years to each
     participating employee with a nonforfeitable accrued benefit and who is employed by a par-
     ticipating employer at the time the statement is to be furnished, and to a participating
     employee or beneficiary upon written request. The pension benefit statement shall indicate,
     on the basis of the latest information available, (a) the total benefits accrued and (b) the non-
     forfeitable pension benefits, if any, which have accrued, or the earliest date on which ben-
     efits will become nonforfeitable. Such statements may be delivered in written, electronic,
     or other appropriate form to the extent such form is reasonably accessible to the participat-
     ing employee or beneficiary. Alternatively, the Trustees may comply with the requirements
     of Section 105 (a) (1) (B) of such Act by providing at least once a year to participating


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      employees notice of the availability of the pension benefit statement and the ways in which
      the participating employee may obtain such statement. Such notice may be delivered in
      written, electronic, or other appropriate form to the extent such form is reasonably accessi-
      ble to the participating employee. In no case shall a participating employee or beneficiary
      be entitled to more than one pension benefit statement in any 12-month period.
           In addition, the Trustees shall furnish to each participating employee who during the
      Plan Year separates from service covered by the Benefit Plan, who is entitled to a deferred
      vested benefit under the Benefit Plan as of the end of such Plan Year, and with respect to
      whom retirement benefits were not paid under the Benefit Plan during such Plan Year, a
      statement describing the nature, amount and form of the deferred vested benefit to which
      such participating employee is entitled. Such statement shall also include a notice to the
      participating employee of any benefits which are forfeitable if the participant dies before
      a certain date. The Trustees shall also file an annual registration statement with the Internal
      Revenue Service concerning participating employees to whom such statements have been
      issued, as required by Section 6057 of the Internal Revenue Code.
      18. Pension Funding Notice
            The Trustees shall provide an annual pension funding notice to the Pension Benefit
      Guaranty Corporation, to each participating employee and beneficiary, to the participating
      labor organization, and to each participating employer. The notice shall contain the specific
      information required for multiemployer plans as set forth under Section 101(f)(2) of the
      Employee Retirement Income Security Act of 1974 and shall be provided to the applicable
      parties not later than 120 days after the end of the Plan Year to which the notice relates. Such
      notice may be provided in written, electronic, or other appropriate form to the extent such
      form is reasonably accessible to persons to whom the notice is required to be provided.
      19. Income Tax Withholding and Reporting
            The Trustees (or their duly appointed custodian bank) shall annually provide each
      retired employee or beneficiary receiving benefits with notice of the right to elect against
      withholding of income tax from his pension benefits and the right to revoke such election
      as required by Section 3405 of the Internal Revenue Code.
            The Trustees shall also furnish to each retired employee or beneficiary receiving ben-
      efits an annual statement of the benefits paid to him, as required by Section 6051 (a) of
      such Code.
      20. Documents to be Examined or Furnished
            The Trustees shall make copies of (a) this Trust Agreement, (b) the latest summary
      plan description, (c) the latest annual report, (d) the applicable collective bargaining agree-
      ment, and (e) any other contracts or instruments under which the employee pension bene-
      fit plan is established or operated available for examination by participating employees or
      their beneficiaries in the Trust Fund office as required by Section 104(b)(2) of the
      Employee Retirement Income Security Act of 1974.
            The Trustees shall upon written request by any participating employee or beneficiary,
      furnish to the participating employee or beneficiary a copy of (a) this Trust Agreement,
      (b) the latest updated summary plan description, (c) the latest annual report, (d) any termi-
      nal report, (e) the applicable collective bargaining agreement, and (f) any other contracts
      or instruments under which the employee pension benefit plan is established or operated,

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     as required by Section 104(b)(4) of such Act. Such copies shall be furnished within thirty
     (30) days of the request. The Trustees may impose a reasonable charge for such copies as
     may be allowed by regulation of the Secretary of Labor.
           The Trustees shall also, upon written request by a participating employee or benefi-
     ciary, furnish to the participating employee or beneficiary a copy of a) any periodic actu-
     arial report (including any sensitivity testing received by the Trust Fund for any Plan Year
     which has been in the Trust Fund’s possession for at least 30 days, b) a copy of any quar-
     terly, semi-annual or other financial report prepared for the Trust Fund by any Fund
     Investment Manager or advisor or other fiduciary which has been in the Trust Fund’s pos-
     session for at least 30 days, and c) any application filed with the Secretary of the Treasury
     requesting an extension under Section 304 of the Act or Section 431 (d) of the Internal
     Revenue Code of 1986, as required by Section 101(k) of the Act subject to any limitations
     imposed by Section 101(k) with regard to individually identifiable information and pro-
     prietary information. Such copies shall be furnished within 30 days of the request but only
     one copy of any report or application may be received during one 12 month period. The
     Trustees may impose a reasonable charge to cover copying, mailing and other costs of fur-
     nishing copies of the information as may be allowed by regulations of the Secretary of
     Labor. This provision also applies to the participating employers and labor organizations.
     21. Procedure for Establishing Funding Policy
           As required by Section 402(b)(l) of the Employee Retirement Income Security Act of
     1974, the Trustees shall meet periodically with the administrative manager, enrolled actu-
     ary, independent qualified public accountant, investment manager or managers (if any),
     and such other Trust Fund advisers as may be appropriate for the purpose of anticipating
     the short and long run financial needs of the Trust Fund and of establishing an appropri-
     ate funding policy and method for the Trust Fund.
         The funding policy and method shall be considered by the Trustees, or by their invest-
     ment manager or managers (if any), in the management of trust fund investments.
     22. Payments to Pension Benefit Guaranty Corporation
           The Trustees shall pay to the Pension Benefit Guaranty Corporation the plan termina-
     tion insurance premiums fixed by the Corporation, as required by Section 4002(a) of the
     Employee Retirement Income Security Act of 1974. Such premiums shall be chargeable
     to the Trust Fund. Consistent with regulations issued by the Corporation, the Trustees shall
     have the authority to adopt a definition of a plan “participant” and to compute and pay pre-
     miums on the basis of that “definition”.
     23. Benefit Claim and Review Procedures
          The Trustees shall establish administrative procedures whereby a participating
     employee or beneficiary who makes a claim for benefits and that claim is denied, is noti-
     fied, in writing, of the reasons for such denial including specific references to the
     Retirement Benefit Plan provisions upon which the denial is based, a description of any
     additional information which is necessary to perfect the claim and why the information is
     necessary, and which afford such a participating employee or beneficiary a reasonable
     opportunity for a full and fair review, as required by Section 503 of the Employee
     Retirement Income Security Act of 1974. Such procedures shall include the Benefit Claim



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      and Review Procedures for a participating employee or beneficiary as set out in Article
      XIII, Section 5 of the Retirement Benefit Plan
                               ARTICLE VII
           ALLOCATION OR DELEGATION OF TRUSTEE RESPONSIBILITIES
      1.    Allocation of Responsibilities to Committees
           The Trustees may allocate to one or more committees of Trustees all or part of the
      following responsibilities, with full power to act: (a) the responsibility for managing the
      Trust Fund investments (if not otherwise delegated to a qualified investment manager); (b)
      the responsibility for reviewing and determining benefit claims of participating employees
      and their beneficiaries; (c) the responsibility for conducting hearings and issuing determi-
      nations as provided for in Article XI, Section 3 hereof; (d) the responsibility for resolving
      questions or problems that may be encountered in connection with payroll auditing or
      employer withdrawal liability activities; (e) the responsibility for resolving questions or
      problems that may be encountered in connection with the collection of delinquent employ-
      er accounts; (f) the responsibility for resolving questions or problems that may be encoun-
      tered in connection with the day-to-day work of the administrative manager; (g) the
      responsibility for reviewing the performance of the qualified investment managers (if
      any), and of the other persons retained by the Trustees.
            In the event the Trustees elect to allocate any of the stated responsibilities they shall
      do so by the adoption of a motion or resolution calling for the appointment of a commit-
      tee of Trustees (consisting of equal numbers of Employer Trustees and Labor Organization
      Trustees) and specifying the particular responsibility that is being allocated. With respect
      to the responsibility that is allocated, the committee shall have the powers of the full Board
      of Trustees. Any action to be taken by the committee shall be determined according to the
      voting formula contained in Article IV, Section 1 hereof. If the committee members dead-
      lock on any matter submitted for their consideration such matter shall be referred to the
      full Board of Trustees for review and action.
           Nothing contained herein shall in any way limit the authority of the Trustees to cre-
      ate additional committees for the purpose of assisting with or expediting the affairs of the
      Trust Fund, provided that any such committee shall be empowered only to make recom-
      mendations with respect to the matters referred to it.
      2.    Delegation of Investment Responsibilities
           The Trustees may delegate all or part of their responsibilities for the management of
      the Trust Fund investments to one or more qualified investment managers, as that term is
      defined in Section 3(38) of the Employee Retirement Income Security Act of 1974, i.e.,
      (a) an investment adviser registered as such under the Investment Advisers Act of 1940,
      (b) a bank as defined in that Act, or (c) an insurance company qualified to manage,
      acquire, or dispose of employee benefit plan assets under the laws of more than one state.
           In the event the Trustees elect to delegate investment responsibility they shall do so
      by the adoption of a motion or resolution making the delegation to a designated invest-
      ment manager(s). The delegation shall be effective when the investment manager(s)
      accepts the delegation and acknowledges in writing his status as a fiduciary with respect
      to the Trust Fund.

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     3.   Delegation of Other Responsibilities
          The Trustees may delegate all or part of their responsibilities with respect to the
     administration of the Trust Fund or the Retirement Benefit Plan (except investment
     responsibilities) to their administrative manager or to any other person whom they may
     designate for such purpose.
          In the event the Trustees elect to delegate a particular responsibility they shall do so
     by the adoption of a motion or resolution making the delegation to a designated person.
     The delegation shall be effective when the designated person accepts the delegation. If the
     delegation involves a responsibility other than one which is ministerial in nature, the des-
     ignated person shall also acknowledge in writing his status as a fiduciary with respect to
     the Trust Fund.
     4.   Review of Performance
          In the event the Trustees elect to allocate or delegate Trustee responsibilities they
     shall periodically review the performance of the persons to whom such responsibilities
     have been allocated or delegated.




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                                        ARTICLE VIII
                                      TRUSTEE POWERS

      1.   General Powers
           Except as may be expressly limited by the terms of this Trust Agreement, the Trustees
      shall have full and exclusive authority to control and administer the Trust Fund and the
      Retirement Benefit Plan.
           The authority of the Trustees encompasses not only the specific powers recited in the
      various paragraphs of this Trust Agreement but also includes the general power to do all
      things and take all actions, including the expenditure of Trust Fund monies, which they
      may deem necessary to carry out the purpose of this Trust Agreement. The Trustees may
      implement their powers through the adoption of appropriate motions, resolutions, or
      administrative rules and regulations. Unless otherwise stated in this Trust Agreement, the
      Trustees will serve as fiduciaries in the creation, the administration and design of the
      Benefit Plan hereunder and in the implementation of any action resulting from these func-
      tions or in the exercise of any other general or specific power set out in this Trust
      Agreement.
      2.   Specific Powers Discretionary
           The recitation of specific powers in this Trust Agreement shall not be interpreted as
      compelling the exercise of any such power. The exercise of specific powers is discre-
      tionary with the Trustees.
      3.   Benefit Plan Being Administered
           The employee pension benefit plan being administered through this Trust Fund as of
      the effective date of this Trust Agreement is described as the
                                        GCIU—Employer
                                      Retirement Benefit Plan
      4.   Amendments to the Benefit Plan
           The Trustees shall have the authority to amend the Retirement Benefit Plan, in whole
      or in part, as they may determine. Such amendments may involve the rules under which
      participating employees and beneficiaries become eligible for pension benefits, the nature
      of the pension benefits to be provided, including any related benefits, and the amount and
      duration of such benefits.
           No amendment shall be made if the same is prohibited by the provisions of the
      Employee Retirement Income Security Act of 1974 or the Internal Revenue Code and, if
      the subject matter is governed by the Act, or the Code, the amendment shall conform to
      the requirements of the Act or the Code.
      5.   Means of Providing Benefits
           The Trustees may provide the benefits specified in the Retirement Benefit Plan, in
      whole or in part, directly from the Trust Fund or may contract with an insurance carrier or
      other legally authorized entity, to underwrite or provide such benefits.


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     6.    Facility of Payment
          The Trustees shall have the authority to adopt rules by the terms of which benefit pay-
     ments owing to minors or incompetents may be paid instead to a person or institution pro-
     viding care or other services to such minor or incompetent, even though a legal guardian
     ship does not exist. Benefit payments made under any such rules shall fully discharge the
     Trust Fund’s obligation to the minor or incompetent.
     7.    Administrative Manager
          The Trustees shall have the authority to retain, at the expense of the Trust Fund, an
     administrative manager to assist the Trustees in the administration of the Trust Fund and
     the Retirement Benefit Plan. Such administrative manager may be retained on a contract
     or salaried basis, as the Trustees may determine.
          In the event the Trustees employ a salaried administrative manager they shall also
     have the authority to employ such additional administrative staff personnel as may be nec-
     essary.
           The Trustees shall periodically review the performance of the administrative manag-
     er.
     8.    Banking Services
          The Trustees shall have the authority to retain, at the expense of the Trust Fund, one
     or more banks or similar financial institutions supervised by the United States or a state,
     to perform depository or custodial services, or to serve as corporate trustee or co-trustee,
     on behalf of the Trust Fund.
          The Trustees shall periodically review the performance of the banks which they have
     retained to provide banking services.
     9.    Other Professional and Non-Professional Persons
          The Trustees shall have the authority to retain, at the expense of the Trust Fund, actu-
     aries, attorneys, employee benefit plan consultants, investment managers, investment per-
     formance analysts, payroll auditors, collection agents, and other professional or non-pro-
     fessional persons, as they may deem necessary. Unless limited by the provisions of the
     Employee Retirement Income Security Act of 1974, the retention of any such profession-
     al or non-professional help may be on a contract or salaried basis, as the Trustees may
     determine.
          The Trustees shall periodically review the performance of the professional or nonpro-
     fessional persons they have retained.
     10. Obtaining of Necessary Premises, Equipment, and Supplies
          The Trustees shall have the authority to purchase or lease suitable premises and
     equipment and to purchase materials and supplies, at the expense of the Trust Fund, as
     they may deem necessary.
     11. Insurance
           The Trustees shall have the authority to purchase policies of insurance (liability,
     property damage, casualty, and errors and omissions) to protect the Trust Fund and to pro-
     tect themselves, their administrative manager, and their employees (if any), with respect


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      to their activities on behalf of the Trust Fund, as they may deem necessary. The costs of
      such insurance policies shall be chargeable to the Trust Fund.
            Any policy of errors and omissions insurance shall contain a recourse clause as
      required by Section 410(b)(l) of the Employee Retirement Income Security Act of 1974,
      provided that nothing herein shall prevent a Trustee (or an employer, employer associa-
      tion, or labor organization acting on his behalf) or the administrative manager, or the Trust
      Fund employees (if any) from purchasing for themselves a waiver of the recourse clause
      or a separate policy insuring against such recourse.
      12. Borrowing Money
          The Trustees shall have the authority to borrow money for the Trust Fund, with or
      without security, as they may deem necessary.
      13. Reserve Funds
           The Trustees shall have the authority to maintain reasonable reserve funds, for future
      contingencies, as they may deem necessary.
      14. Payment of Taxes
           The Trustees shall have the authority to pay, at the expense of the Trust Fund, all real
      and personal taxes, and other taxes and assessments of any kind, which may be lawfully
      levied or assessed against the Trust Fund.
      15. Refunds of Contributions Erroneously Paid
           The Trustees shall have the authority to adopt rules by the terms of which refunds of
      contributions may be made to a participating employer where the employer has paid such
      contributions in error, as may be allowed by Section 403(c) of the Employee Retirement
      Income Security Act of 1974.
      16. Penalties for False or Withheld Information
      The Trustees shall have the authority to adopt rules and regulations by the terms of which
      reasonable penalties or forfeitures may be imposed upon participating employees or ben-
      eficiaries who (a) falsify any information requested of them in the administration of the
      Trust Fund and the Retirement Benefit Plan, or (b) fail to provide requested information
      within a reasonable time.
      17. Correction of Errors
            It is recognized and acknowledged by all parties that the Trustees will provide
      eligibility credits and benefits to participating employees and their beneficiaries based on
      Trust Fund records. It is also recognized and acknowledged that such records could be
      incorrect due to (a) employers reporting individuals who are not eligible for participation,
      (b) employers reporting incorrect names or incorrect social security numbers, (c) employ-
      ers reporting more or less than the hours or contributions required to be reported, (d) delin-
      quent employer reports, (e) employees or beneficiaries submitting incorrect or false bene-
      fit applications, (f) recording or computation errors by the administrative manager, (g)
      computer errors, or (h) other similar circumstances. The Trustees shall have the authority
      to correct the Trust Fund records whenever errors are discovered and to terminate partici-
      pation, adjust eligibility credits or benefits, or seek the recovery of benefit overpayments,



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     as they may determine.
     18. Prosecution of Legal Action or Claims
          The Trustees shall have the authority to originate and maintain any legal actions, or
     claims involving potential legal actions, at the expense of the Trust Fund, as they may
     deem necessary. All such actions and claims shall be prosecuted in the name of the Trust
     Fund or in the name of an assignee.
     19. Defense of Legal Actions or Claims
           The Trustees shall have the authority to defend all legal actions, claims involving
     potential legal actions, and investigatory proceedings, initiated against the Trust Fund or
     against one or more of the Trustees, or former Trustees, or the administrative manager, or
     against one or more of the employees of the Trust Fund (if any) which relate to the admin-
     istration of the Trust Fund or the Retirement Benefit Plan. Except as stated below, the
     defense of such actions, claims and proceedings shall be at the expense of the Trust Fund.
           If the final court decree establishes personal liability on the part of specified Trustees,
     or the administrative manager, or the employees of the Trust Fund (if any) for breach of
     their fiduciary responsibilities, as permitted by Section 409(a) of the Employee Retirement
     Income Security Act of 1974, and orders that the specified persons are to bear the expens-
     es of their own defense, the attorney fees and costs of the specified persons shall not be
     chargeable to the Trust Fund. If attorney fees and costs have already been charged to the
     Trust Fund, the specified persons shall be obligated to repay the Trust Fund for their pro
     rata share of such fees and costs.
     20. Compromise of Legal Actions or Claims
          The Trustees shall have the authority to compromise, settle, or release all legal
     actions, or claims involving potential legal actions, in favor of or against the Trust Fund
     on such terms and conditions as they may determine.
     21. Subscription and Participation Agreements
           The Trustees shall have the authority to create and distribute subscription and partici-
     pation agreements, at the expense of the Trust Fund, and to insist upon the execution and
     filing of such agreements as a condition precedent to the acceptance of contributions.
     22. Participation in Non-Profit Educational Organizations
           The Trustees shall have the authority to participate in non-profit foundations,
     corporations, councils, committees, or other organizations which sponsor educational pro-
     grams or provide educational materials pertaining to the administration of trust funds of
     this nature and of employee benefit plans. If the Trustees act to participate in any such non-
     profit organization, the membership or participation fees of the organization shall be
     chargeable to the Trust Fund.
          The Trustees shall also have the authority to purchase educational materials and to
     provide for the attendance of the Trustees, or of their administrative manager, or of such
     of their employees (if any), as they may designate, at educational conferences and meet-
     ings. The costs of such materials and attendance shall be chargeable to the Trust Fund.
     23. Reciprocity
          The Trustees shall have the authority to enter into reciprocal agreements with other

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      employee pension benefit funds for the exchange of eligibility credits or monies, or for the
      payment of pro rata benefits, on behalf of employees who may terminate their partici-
      pation in the Trust Fund and begin participation in a reciprocal trust fund, and vice-versa.
      24. Mergers
            The Trustees may accept mergers of other employee pension benefit trust funds,
      maintained by participating employers or jointly by participating employers and partici-
      pating labor organizations, into this Trust Fund so that individual participants in such other
      trust funds can become participants in this Trust Fund. To that end, the Trustees shall have
      the authority to negotiate and consummate appropriate merger agreements which provide
      for the transfer of assets and liabilities from other employee pension benefit trust funds to
      this Trust Fund.
            Any such merger agreement shall conform to these standards: (a) the value of the
      retirement benefits assumed by this Trust Fund (as determined on the basis of actuarial
      standards approved by the Trustees) with respect to the participants of the other trust fund
      who had retired prior to the date of the merger agreement shall not exceed the market value
      (determined on the date of transfer) of the assets transferred to this Trust Fund on behalf
      of such retired participants and (b) the value of the aggregate current service credited to
      the participants in the other trust fund who had not retired as of the date of the merger
      agreement shall not exceed one year of current service for each $1,300 (or other amount
      which may be fixed by the Trustees) of market value (determined on the date of transfer)
      of the remaining assets transferred to this Trust Fund on behalf of such participants, after
      allocation for retired participants.
           Any such merger agreement shall also include such requirements as may be applica-
      ble under Section 208 of the Employee Retirement Income Security Act of 1974 and under
      the applicable provisions of the Internal Revenue Code.
      25. Eligible Rollover Plan Distributions
            The Trustees shall have the authority to administer direct trustee-to-trustee transfers
      of eligible rollover plan distributions to financial institutions selected by the participant (or
      spouse or former spouse). The Trustees shall also have the authority to implement any nec-
      essary procedures and policies which are required by the Unemployment Compensation
      Amendment Act of 1992 and any amendments or regulations issued relating thereto in
      order to comply with the Act and regulations.
      26. Interpretation and Application of Documents
           The Trustees shall have the authority to interpret and apply the provisions of this
      Trust Agreement, or of the Retirement Benefit Plan, or of their own motions, resolutions,
      and administrative rules and regulations, or of any contracts, instruments, or writings
      which they may have adopted or entered into.
      27. Adoption and Implementation of a Funding Improvement Plan and Rehabilitation
          Plan
            The Trustees shall have the authority to adopt and implement a funding improvement
      plan and a rehabilitation plan in accordance with the provisions of ERISA Section 305,
      should the enrolled actuary certify that the Retirement Benefit Plan is in endangered or
      critical status. In this regard, the Trustees shall provide the participating employers and


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     participating labor organizations with a schedule or schedules showing revised benefit
     and/or contribution structures which, if adopted, might reasonably be expected to allow
     the Retirement Benefit Plan to achieve applicable funding benchmarks (if the Retirement
     Benefit Plan is in endangered status) or to allow the Retirement Benefit Plan to emerge
     from critical status or to stave off insolvency.
           If upon expiration of a collective bargaining agreement in effect at the time the
     Retirement Benefit Plan entered endangered or critical status, a participating employer and
     the participating labor organization are unable to agree on a new contract that includes
     benefit and/or contribution schedules necessary to allow the Retirement Benefit Plan to
     meet the applicable benchmarks, if the Retirement Benefit Plan is in endangered status, or
     to allow the Retirement Benefit Plan to emerge from critical status, or to stave off insol-
     vency, the Trustees shall have the authority to implement the default schedule as described
     under ERISA Section 305(c)(1) (B)(i) (I) and Section 305 (e)(1)(B)(ii).
     Nothing in this section should be construed as to limit the Trustees’ authority and powers
     under the Trust Agreement or applicable provisions of ERISA.




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                                    ARTICLE IX
                          CONTRIBUTIONS AND COLLECTIONS

      1.   Contribution Reporting Forms
           The Trustees shall create and make available, at the expense of the Trust Fund, contri-
      bution reporting forms for the use of participating employers in making their contribu-
      tions.
      2.   Contributions Due
           Contributions shall be made on all hours worked or paid for, as required by the terms
      of the collective bargaining agreement. Hours worked include overtime hours. Hours paid
      for generally include vacation, sick, holiday, and probationary hours, whether specifically
      included in the collective bargaining agreement, or not.
      3.   Contribution Due Date
          All contributions shall be due by the fifteenth (15) day of the month following the
      month in which they accrue.
      4.   Delinquent Contributions
           A participating employer shall be considered to be delinquent in the payment of
      contributions if he (a) fails to submit a contribution reporting form, and the contributions
      detailed therein, by the close of business on the due date, or (b) fails to submit contribu-
      tions on behalf of all the employees for whom contributions are required under the appli-
      cable collective bargaining agreement, subscription agreement, or participation agree-
      ment, or (c) fails to properly compute the contributions according to the required contri-
      bution formula specified in the applicable collective bargaining agreement, subscription
      agreement, or participation agreement.
           The Trustees shall undertake reasonable efforts to collect known delinquent contribu-
      tions and related claims.
      5.   Audit of Employer Books and Records
           The Trustees shall have the authority to audit the payroll books and records of a
      participating employer, either directly or through a qualified public accountant, as they
      may deem necessary in the administration of the Trust Fund. Such payroll audit may be
      undertaken pursuant to a routine payroll audit program or on a case by case basis, as the
      Trustees may determine.
           Whenever a payroll audit is authorized, the participating employer involved shall
      make available to the Trustees, or the qualified public accountant designated by them, its
      payroll books and records. Such books and records shall include (a) all records which the
      employer may be required to maintain under Section 209(a)(l) of the Employee
      Retirement Income Security Act of 1974, and (b) time cards, payroll journals, payroll
      check registers, cancelled payroll checks, copies of the employer’s federal, state, and local
      payroll tax reports, and all other documents and reports which reflect the hours and wages
      or other compensation of the employees or from which such can be verified (or electron-
      ic versions thereof).


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          In the event the payroll audit discloses that the participating employer has not paid
     contributions, as required by the applicable collective bargaining agreement, subscription
     agreement, or special agreement, the employer shall be liable for the costs of the audit.
     6.   Liquidated Damages, Attorney Fees, Interest, and Other Charges
           It is recognized and acknowledged by all parties, including the participating employ-
     ers, that the prompt and accurate payment of contributions is essential to the maintenance
     of an employee benefit trust fund and benefit plan and that it would be extremely difficult,
     if not impossible, to fix the actual expense and damage to the trust fund and plan which
     would result from the failure of a participating employer to pay the required contributions
     within the time provided.
           Therefore, if an employer is delinquent in the payment of contributions by the tenth
     (10th) day following the contribution due date, or by such other date as the Board of
     Trustees may from time to time establish, the delinquent employer shall be liable, in addi-
     tion, for liquidated damages of ten percent (10%) of the amount of the contributions which
     are owed, or twenty five dollars ($25), whichever is greater.
          If the delinquent contributions or liquidated damages are not paid by the tenth (10th)
     day of the month following the month in which they were due, or by such other date as the
     Board of Trustees may from time to time establish, the account will be referred to legal
     counsel, or a collection agent, for collection. Upon such referral, the delinquent employer
     shall be liable for reasonable attorney fees and for reasonable costs incurred in the collec-
     tion process, including court fees, audit fees, etc. In addition, delinquent contributions
     shall bear interest at the rate of ten percent (10%) per annum until paid, computed from
     the contribution due date.
     7.   Additional Liquidated Damages in Event of Court Judgment
           In the event it is necessary to pursue a collection to a court judgment, the delinquent
     employer shall be liable for additional liquidated damages of ten percent (10%) of the
     amount of the contributions which are owed, making a total of twenty percent (20%). As
     provided in Section 515 of the Employee Retirement Income Security Act of 1974, as
     amended, the employer shall, if a judgment is entered, be obligated to the Trust Fund for
     the unpaid contributions, interest on the unpaid contributions, liquidated damages of twen-
     ty percent (20%), reasonable attorney’s fees and costs, and such other legal or equitable
     relief as may be appropriate.
     8.   Waiver of Charges
          The Trustees shall have the authority to waive all or part of the payroll audit costs,
     liquidated damages, interest, attorney fees, or collection costs, for good cause shown.
     9.   Protection of Employees in Cases of Delinquency
          To protect participating employees and beneficiaries in situations where participating
     employees may be denied pension credits because their employer is delinquent in the pay-
     ment of contributions, the Trustees shall have the authority to extend pension credits to
     such employees.
         The extension of pension credits shall not, however, release the delinquent employer
     from the responsibility for payment of the contributions owed.


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      10. Coordination with Provisions in Collective Bargaining Agreements
           In the event the underlying collective bargaining agreement contains provisions relat-
      ing to delinquencies that specify additional remedies, or obligate the delinquent employer
      to greater amounts of liquidated damages, interest, or attorney fees than those set forth
      herein, the Trustees, at their option, may pursue the additional remedies or impose the
      greater charges.
           The Trustees shall not be obligated, however, to pursue the collection of delinquent
      accounts through the grievance-arbitration procedures (if any) provided for in the appli-
      cable collective bargaining agreement.




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                                     ARTICLE X
                           EMPLOYER WITHDRAWAL LIABILITY
     1.     Calculation and Collection of Employer Withdrawal Liability
          As provided in the Multi-Employer Pension Plan Amendments Act of 1980 (PL 96-
     364) (hereafter the Act), in the event a participating employer should withdraw from the
     Trust Fund, the Board of Trustees shall (a) determine the amount of the employer’s with-
     drawal liability (if any), (b) notify the employer of the amount of the withdrawal liability
     and (c) collect the amount of withdrawal liability from the employer. In carrying out this
     responsibility the Board of Trustees shall apply the terms and provisions of the Act, and
     any regulations issued thereunder, provided, however, that the Board of Trustees may from
     time to time adopt alternate methods or formulae as permitted in the Act.
          Sections 2, 3, and 4, set forth hereafter, have been adopted as alternates under the Act.
     2.     Determination of Amount of Unfunded Vested Benefits Allocable to Withdrawing
            Employer
          As allowable under 4211(a) of the Act, the Board of Trustees shall determine the
     amount of unfunded vested benefits allocable to a withdrawing employer in accordance
     with the formula set out in Section 4211(b) of the Act, and any regulations issued thereun-
     der, with the following modifications: (a) the initial pool will be based on the December
     31, 2006 unfunded vested benefit liability, reduced by the value of all outstanding claims
     for withdrawal liability that the Trust Fund can reasonably expect to receive for employ-
     ers withdrawing before 2006, (b) the calculation of subsequent pools established for
     changes in unfunded vested benefits as defined in 4211(b) (2) (B) of the Act will contin-
     ue to reflect the value of all outstanding claims for withdrawal liability that the Trust Fund
     can reasonably expect to receive for employers withdrawing before 2006, and (c) in any
     Plan year where the unfunded vested benefit liability at the end of the prior year is zero,
     the unfunded vested benefit liability allocation pools for prior years will be considered
     fully amortized and reset to zero.
         In making such a determination, reasonable actuarial assumptions and methods shall
     be applied as allowable under Section 4213(a)(1) of the Act and as determined by the
     Fund’s actuary.
     3.     Payment of Withdrawal Liability in Monthly Installments
         As allowable under Section 4219(c)(3) of the Act, the annual withdrawal liability
     payments owing to this Trust Fund by a withdrawing employer shall be payable in twelve
     equal monthly installments, due on the first (1st) day of each month, in advance.
     4.     Adoption of Administrative Rules and Regulations
          The Board of Trustees shall adopt administrative rules and regulations relating to the
     processing of employer withdrawal situations.
     5.     Notice of Potential Withdrawal Liability
          As provided in Section 101(1) of the Employee Retirement Income Security Act of
     1974, the Board of Trustees shall, upon written request, furnish to any employer who has
     an obligation to contribute to the Fund (a) a notice of the estimated amount of what would

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      be the employer’s withdrawal liability if the employer withdrew on the last day of the plan
      year preceding the date of the request, and (b) an explanation of how such estimated with-
      drawal liability was calculated, including (i) the actuarial assumptions and methods used
      to determine the value of the Retirement Benefit Plan’s liabilities and assets; (ii) the data
      regarding employer contributions, unfunded vested benefits and annual changes in the
      Retirement Benefit Plan’s vested benefits; and (iii) changes in the application of any rele-
      vant limitations in the estimated withdrawal liability. Such notice shall be furnished to the
      requesting employer within 180 days after the request but in no case shall an employer be
      entitled to receive more than one such notice during any one 12-month period. The Board
      of Trustees shall impose a reasonable charge on each employer requesting such a notice.




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                               ARTICLE Xl
          BENEFIT CLAIM, HEARING AND ARBITRATION PROCEDURES

     1.    Hearings Required
           The Trustees shall afford a hearing to any participating employer, employer association,
     or labor organization who is aggrieved by any decision or action of the Trustees, or of the
     administrative manager acting on their behalf. The aggrieved party may present the appeal
     in person, or through a representative, or by written submission.
           It shall be the obligation of any such person to exhaust the hearing procedures specified
     in this Article before instituting final and binding arbitration concerning any such decision
     or action.
     2. Requests for Hearings
           Any person seeking a hearing shall make a request therefore, in writing, within sixty
     (60) days after being apprised of, or learning of, the complained of decision or action. All
     such requests shall be addressed to the Trustees and shall be mailed to the Trust Fund’s
     administrative office.
     3. Conduct of Hearings
           Upon receipt of a request for a hearing, the Trustees shall fix a date and place for a hear-
     ing. At the hearing, the complaining person shall be entitled to present his position and any
     witnesses or other evidence in support thereof. The complaining person may be represented
     by an attorney or by any other representative of his choosing. In the alternative, the com-
     plaining person may choose to present his appeal by written submission.
           The Trustees shall, within thirty (30) days following the hearing, issue a written deci-
     sion affirming, modifying, or setting aside the former decision or action.
     4. Hearing Rules
           The Trustees shall have the authority to adopt rules governing the conduct of any such
     hearing.
     5. Arbitration - Mandatory
           If the complaining person is dissatisfied with the written decision of the Trustees, he
     shall have the right to appeal the matter to mandatory, final and binding arbitration in accor-
     dance with the labor arbitration rules or the employee benefit claim rules of the American
     Arbitration Association, provided that he submit a request for arbitration to the Trustees, in
     writing, within sixty (60) days of receipt of the written decision. If an appeal to arbitration
     is requested, the Trustees shall submit to the arbitrator a certified copy of the record upon
     which the Trustees’ decision was made.
           The question for the arbitrator shall be (1) whether the Trustees were in error upon an
     issue of law, (2) whether they acted arbitrarily or capriciously in the exercise of their dis-
     cretion, or (3) whether their findings of fact were supported by substantial evidence. The
     decision of the arbitrator shall be final and binding upon the Trustees, upon the appealing
     party, and upon all other parties whose interests are affected thereby. The expenses of the
     arbitration shall be borne equally by the appealing party and by the Trust Fund, unless oth-
     erwise ordered by the arbitrator.



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      6.   Benefit Claim and Review Procedures for a Participating Employee or Beneficiary
           The Trustees shall provide benefit claim and review procedures for any participating
      employee or beneficiary who has made a claim for benefits and is aggrieved by any deci-
      sion or action of the Trustees, or of the administrative manager acting on their behalf. The
      aggrieved party may present the appeal under the Benefit Claim and Review Procedures
      set out in Article XIII, Section 5 of the Retirement Benefit Plan.
      7. Sole and Exclusive Remedies
           These Benefit Claim, Hearing and Arbitration procedures are the sole and exclusive
      remedies for all complaining persons.




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                                          ARTICLE XII
                                          LIMITATIONS
     1.   Liabilities and Debts of Trust Fund
           No participating employer, employer association, or labor organization, shall be
     responsible for any liabilities or debts of the Trust Fund. This provision, however, shall not
     relate to any liability that may be imposed upon a participating employer under Section
     4971 of the Internal Revenue Code or Title IV of the Employee Retirement Income
     Security Act of 1974, as amended by the Multi-Employer Pension Plan Amendment Act
     of 1990.
     2.   Liabilities and Debts of Participating Parties
          No participating employer, employer association, or labor organization shall, by rea-
     son of their participation in the Trust Fund, become responsible for the liabilities or debts
     of any other participating employer, employer association, or labor organization.
     3.   Personal Liabilities of Trustees and Fiduciaries
          No Trustee or other fiduciary shall incur any personal liability in connection with the
     administration of the Trust Fund or the Retirement Benefit Plan, except for such liability
     that may be established in accordance with Section 409(a) of the Employee Retirement
     Income Security Act of 1974.
           Except as may be required by applicable provisions of such Act, no Trustee or other
     fiduciary shall be held personally liable for any breach of fiduciary responsibilities in con-
     nection with the administration of the Trust Fund or the Retirement Benefit Plan where it
     is established (a) that the responsibilities at issue were lawfully allocated or delegated to
     other Trustees or fiduciaries or (b) that in carrying out the responsibilities at issue the
     Trustee or other fiduciary reasonably relied upon the advice given by the administrative
     manager or by one or more of the professional persons employed by the Trustees.
          No Trustee or other fiduciary shall be personally liable for a breach of fiduciary
     responsibilities if such breach was committed before he became a fiduciary or after he
     ceased to be a fiduciary.
     4.   Judgments Against Trust Fund
           Any money judgment against the Trust Fund shall be enforceable only against the
     Trust Fund entity and shall not be enforceable against any Trustee or other person, unless
     liability against the Trustee or other person, in his individual capacity, is established in
     accordance with Section 409(a) of the Employee Retirement Income Security Act of 1974.
     5.   Participating Parties’ Rights
          Except as specifically provided for in this Trust Agreement or in the Retirement
     Benefit Plan, no participating employer, employer association, labor organization,
     employee, or beneficiary shall have any right, title, or interest in or to the Trust Fund, or
     in or to the contributions, or in or to the benefits provided.
           No participating employee shall be entitled to receive any part of the contributions in
     lieu of the benefits provided through the Retirement Benefit Plan, nor shall a participating
     employee who does not qualify for benefits, or his employer, have any claim to the con-

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     tributions which may have been paid on his behalf.
     6.   Cessation of Participation
           In the event a participating employer, employer association, or labor organization, or
     groups thereof, should cease their participation in the Trust Fund, there shall be no divi-
     sion or allocation of any of the monies or assets of the Trust Fund, except as may be spec-
     ified in the Retirement Benefit Plan or required by law.
     7.   Protection of Trust Fund, Contributions, and Benefits
          No part of the Trust Fund (including the contributions) or the benefits payable under
     the Retirement Benefit Plan, shall be subject in any manner, by a participating employee
     or beneficiary, to anticipation, alienation, sale, transfer, assignment, encumbrance, or
     charge, and any such attempt shall be null and void except as may be required under
     Section 206(d) of the Act, as amended (a QDRO).
          Further, no part of the Trust Fund (including the contributions), or the benefits
     payable under the Retirement Benefit Plan, shall be liable for the debts of a participating
     employee or beneficiary, nor be subject in any manner to garnishment, attachment, lien,
     charge, or any other legal process brought by any person against a participating employee
     or beneficiary, and any such attempt shall be null and void except as may be required
     under Section 206(d) of the Act, as amended (a QDRO).
     8.   Reliance upon Written Documents
          The Trustees may act upon any written letter, report, certificate, instrument, or other
     document submitted to them by any participating employer, employer association, labor
     organization, employee, or beneficiary, or by any other person, where such document
     appears to be genuine and to be signed by the proper person or persons and the Trustees
     shall be under no duty to make any investigation or inquiry as to any statement contained
     in any such document.
     9.   Agents of Trust Fund
          Unless authorized in a motion or resolution of the Trustees, no participating employ-
     er, employer association, or labor organization, nor any individuals employed thereby,
     shall have any authority to act or function for or on behalf of the Trust Fund or as agent
     thereof.
          Likewise, unless authorized in a motion or resolution of the Trustees, no individual
     Trustee or other fiduciary shall have any authority to act or function for or on behalf of the
     Trust Fund or as an agent thereof.




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                                          ARTICLE XIII
                                        MISCELLANEOUS
     1.    Trust Fund Offices
           The Trust Fund shall maintain a principal office and suboffices, where necessary, in
     such locations as the Trustees may determine.
     2. Applicable Laws and Regulations
           This Trust Agreement and the Retirement Benefit Plan shall be interpreted and
     administered in accordance with Section 302(c) of the Labor Management Relations Act
     of 1947, the Employee Retirement Income Security Act of 1974, the Internal Revenue
     Code, and the regulations pertinent thereto, and other applicable statutes and regulations,
     as such statutes and regulations presently exist or as they may hereafter be amended. Any
     omissions or oversights will be resolved in accordnce with the laws and regulations.
           References herein to particular sections of the above mentioned statutes shall include
     any regulations pertinent to such sections and shall encompass any subsequent amend-
     ments to such sections or regulations.
     3. Notices
           Any written notice permitted or required by this Trust Agreement shall be personal-
     ly delivered to the person for whom it is intended or sent to such person, at his residence
     or business address, by first class mail. Any such notice may also be delivered by email,
     facsimile transmission, or other electronic means available as may be allowed by law.
     4. Severability
           If any provision of this Trust Agreement, or of the Retirement Benefit Plan is held to
     be illegal or invalid for any reason, such illegality or invalidity shall not affect the remain-
     ing portions of the Trust Agreement or the Retirement Benefit Plan.
     5. Title — Words
           The titles of the various articles and sections of this Trust Agreement are inserted
     solely for convenience of reference and are not a part of, nor shall they be used to con-
     strue, any term or provision hereof. Whenever any words are used herein in the masculine
     gender they shall be construed as though they were used in the feminine gender, and words
     in singular form shall be construed as though they were used in the plural form, in all cases
     where they would so apply.
     6. Information to be Furnished and Distributed
           To aid the Trustees in the administration of the Trust Fund, the participating employ-
     ers, employer associations and labor organizations shall furnish the Trustees with such
     information as they may determine including (a) copies of collective bargaining agree-
     ments, (b) contribution rates, (c) the identity of employees covered by collective bargain-
     ing agreements, subscription agreements or participation agreements, and their social
     security numbers, (d) reports on compensated hours for all employees who have worked
     in the bargaining unit or as a nonbargaining unit employee whether or not a contribution
     has been paid, (e) reports on all hours or shifts or wages which constitute the basis of the
     contribution made to the Retirement Benefit Plan as provided in the collective bargaining
     agreement, subscription agreement or participation agreement, and (f) reports on actual
     contributions owed broken down by each employee.



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                                  ARTICLE XIV
                           AMENDMENTS AND TERMINATION
     1.   Amendments
          This Trust Agreement may be amended by action of the Trustees, except that the
     Trustees shall make no amendment to Article III without the unanimous written consent
     of the Trustees and the remaining signatory parties (or their successors).
          In the event that the Trustees should propose an amendment to Article III, they shall
     deliver copies thereof to the remaining signatory parties (or their successors). If any sig-
     natory party (or successor thereto) fails, within thirty (30) days, to respond to a written
     request for consent to any such amendment, that signatory party will be deemed to have
     waived its right to act upon such amendment.
     2.   Termination
          This Trust Agreement may be terminated, at anytime, by unanimous action of the
     Trustees and the remaining signatory parties (or their successors).
     3.   Allocation upon Termination
           If the Plan is terminated, all assets remaining in the Trust Fund after the payment of
     all expenses incurred in terminating or administering the Plan will be allocated to the ben-
     efit of participating employees, retired employees, and surviving spouses, according to the
     following order of priority:
          (a) First, the remaining assets shall be allocated equally to (1) benefits in pay status
     three years prior to termination at the lowest benefit level under the plan during the five
     years prior to termination, and (2) benefits which would have been in pay status three
     years prior to termination had the employee been retired (and had his benefits commenced
     then, at the lowest benefit level under the plan during the five years prior to termination.)
          (b) Second, the assets remaining after satisfying the benefits described in section (a)
     above shall be allocated equally to all other benefits guaranteed under Title IV of the
     Employee Retirement Income Security Act of 1974, (irrespective of the limitations on the
     amount of monthly benefits and regardless of the number of plans in which the employee
     participated).
          (c) Third, the then remaining assets shall be allocated equally to all other non-for-
     feitable (vested) benefits under the plan.
         (d) Fourth, the then remaining assets shall be allocated equally to all other benefits
     under the plan.
          If the assets of the Trust Fund applicable to any of the above categories (a) and (b)
     are insufficient to provide fully the amount of the benefits in each category, the benefits
     otherwise payable shall be reduced proportionately.
           If the assets of the Trust Fund applicable to category (c) are insufficient to provide
     fully the amount of the benefits in that category, the assets shall be allocated to the bene-
     fits of individuals which are described in that category on the basis of benefits of individ-
     uals which would have been described in category (c) under the Plan as in effect at the
     beginning of the 5-year period ending on the date of plan termination.

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           If the assets available for allocation under the preceding paragraph are sufficient to
     satisfy in full the benefits described in that paragraph, then for purposes of that paragraph,
     benefits of individuals described in that paragraph shall be determined on the basis of the
     Plan as amended by the most recent Plan amendment effective during such 5-year period
     under which the assets available for allocation are sufficient to satisfy in full the benefits
     of individuals described in the preceding paragraph and any assets remaining shall be allo-
     cated under that paragraph on the basis of the Plan as amended by the next succeeding plan
     amendment effective during such period.
          The amount allocated under any of the priority categories listed above with respect
     to any benefit shall be adjusted for any allocation of assets with respect to that benefit
     under a prior category.
           The amount allocated to each benefit shall be used to provide monthly retirement
     benefit payments through continuance of the Trust Fund, or through a new Trust Fund, or
     for the purchase of insurance annuity contracts; provided that, if the Trustees find that it is
     not practical or desirable under the circumstances to do any of the foregoing, they may
     provide for some other means of disposing of the allocations of the Trust Fund, including
     making payments in cash to the persons for whom such allocations have been made.
          In no event shall any of the remaining monies or assets be paid to or be recoverable
     by any participating employer, employer association, or labor organization.




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                        SIGNATORY PARTIES as of March 25, 1976
      Labor Organization Signatory Parties           Employer Signatory Parties
      International Printing & Graphic               Seattle Post-lntelligencer (Division of
      Communications Union                           Hearst Publishing Company, Inc.)
      By                              Sol Fishko     By                       Gerald W. Hedman
      Title                            President     Title               Director of Personnel &
      Date                       March 25, 1976                                  Labor Relations
                                                     Date                        March 25, 1976
      Printing Specialties and Paper Products
      Unions, IP & GCU                               Seattle Times Company
      By                               Sol Fishko    By                       Harold Fuhrman
      Title                 President, IP & GCU      Title      Vice President & General Mgr.
      Date                       March 29, 1976      Date                      March 25, 1976

      Seattle Web Pressman Local No. 26              Los Angeles Paper Box and Board Mills
      IP & GCU                                       By                 William H. Kewell, Jr.
      By                   George G. Peterson        Title                          President
      Title                2nd V.P. #26 Seattle      Date                     March 25, 1976
      Date                     March 25, 1976
                                                     Bay Area Paper Box Employers
      Los Angeles Commercial Pressmen                By                   Edward H. Moore
      Local No. 78, IP & GCU                         Title                        Secretary
      By                     Frank Calderone         Date                      June 7, 1976
      Title                         President
      Date                    March 25, 1976         Printing Industries Association
                                                     (Union Employers Section - Los Angeles)
                                                     By                              Jerry Maras
                                                     Title                        Representative
                                                     Date                       March 25, 1976




                          SIGNATORY PARTIES as of July 1, 1984
      Graphic Communications International           Graphic Communications Union, Local
      Union (successor to International Printing     No. 404-M (successor to Los Angeles
      & Graphic Communications Union)                Commercial Pressman No. 78, IP & GCU)

      Graphic Communications Union No. 777           Seattle Times Company
      (successor to Printing Specialties and Paper
      Products Union, IP & GCU)                      Bay Area Paper Box Employers

      Seattle Newspaper Pressmen Local No. 26,       Printing Industries Association (Union
      GCIU                                           Employers Section—Los Angeles)




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     Note: On September 9, 1988, the three remaining employer signatory parties, the Seattle
           Times, the Bay Area Paper Box Employers, and the Printing Industries Association
           (Union Employers Section) - Los Angeles, agreed, in writing, to irrevocably and
           unconditionally transfer and assign to the incumbent employer trustees and their
           successors all of their rights and powers under this Trust Agreement and to forever
           resign their positions as employer signatory parties.




                        SIGNATORY PARTIES as of September 1, 1990
     Graphic Communications International          Graphic Communications Union, Local
     Union (successor to International Printing    No. 767-M (successor to Seattle
     & Graphic Communications Union)               Newspaper Pressmen Local No. 26, GCIU)
     Graphic Communications Union, Local           Graphic Communications Union, Local
     No. 388-M (successor to Graphic               No. 404-M (successor to Los Angeles
     Communications Union, No. 777)                Commercial Pressmen No. 78, IP & GCU)




                        SIGNATORY PARTIES as of September 1, 1999
     Graphic Communications International          Graphic Communications Union, Local
     Union (successor to International Printing    No. 767-M (successor to Seattle
     & Graphic Communications Union)               Newspaper Pressmen Local No. 26, GCIU)
     Graphic Communications Union, Local           Graphic Communications Union, Local
     No. 388-M (successor to Graphic               No. 404-M (successor to Los Angeles
     Communications Union, No. 777)                Commercial Pressmen No, 78, IP & GCU)




                        SIGNATORY PARTIES as of September 1, 2012
     Graphic Communications International          Graphic Communications Union, Local
     Union (successor to International Printing    No. 767-M (successor to Seattle
     & Graphic Communications Union)               Newspaper Pressmen Local No. 26, GCIU)
     Graphic Communications Union, Local           Graphic Communications Union, Local
     No. 388-M (successor to Graphic               No. 404-M (successor to Los Angeles
     Communications Union, No. 777)                Commercial Pressmen No, 78, IP & GCU)




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                            LIST OF TRUSTEES as of January 1, 1976

      Employer Trustees                            Labor Organization Trustees
      Harold Fuhrman                               Sol Fishko
      Charles Woessner                             Robert O’Neil
      Joseph Conley                                Jack McCormick
      Jerry Maras                                  Don McCaughan
      Frank Hurlburt                               George Peterson
      William Kewell, Jr.                          Frank Calderone
                                                   Wade Moore

      Alternate Employer Trustees                  John Millan
      Gerald Hedman                                Floyd F. Lisinski
      Walter Taylor
      O.H. Rieth                                   Alternate Labor Organization Trustees
      Lad Sabo                                     George Barnett
                                                   George Gates
                                                   Cy Quinn

                            LIST OF TRUSTEES as of September 1, 1990

      Employer Trustees                            Labor Organization Trustees
      Joseph Conley                                James Western
      Harold Fuhrman                               George Barnett
      Jerry Maras                                  Wade Moore
      O.H. Rieth                                   Floyd Lisinski
      Donald Scheiber                              William Roberts
      David Stanger                                James Norton
                                                   Gary Dunmire
                                                   Robert Bartlett
                                                   William Clark

                            LIST OF TRUSTEES as of September 1, 1999

      Employer Trustees                            Labor Organization Trustees
      Joseph Conley                                Frank P. Young
      Harold Fuhrman                               William Clark
      Hugh Gaylord                                 John A. Giannone
      Jerry Maras                                  Stephen E. Northup
      Thomas E. Phillips                           James J. Norton
      Nate Accardi                                 Edward A. Treacy
      Jim Janiga                                   John D. Bachler
                                                   Alternate Labor Organization Trustees
                                                   George Osgood
                                                   Ryan Sherard
                                                   Paul E. Golden



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